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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 ST. LOUIS DIVISION

RADHA GEISMANN, M.D., P.C., individually              )
and on behalf of all others similarly situated,       )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       Case No.
                                                      )
GE HEALTHCARE, INC.,                                  )
                                                      )
               Defendant.                             )


                                      NOTICE OF REMOVAL

        Defendant GE Healthcare, Inc. (“GE Healthcare”), by its undersigned attorneys, and

pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, removes the action described below from

the Circuit Court of St. Louis County, Missouri. In support of this Notice of Removal, GE

Healthcare states as follows:

        1.         GE Healthcare is the only named defendant in a class action lawsuit that was

filed on March 2, 2015, in the Circuit Court of St. Louis County, Missouri, styled Radha

Geismann, M.D., P.C. v. GE Healthcare, Inc., No. 15SL-CC00779. A copy of the entire state

court file, including the Plaintiff’s Complaint, is attached hereto as Exhibit A.

        2.         On March 19, 2015, Plaintiff served GE Healthcare’s registered agent with the

Complaint and Summons in this action, along with Plaintiff’s Motion for Class Certification and

certain unfiled discovery requests.

        3.         On April 10, 2015, GE Healthcare timely filed this Notice of Removal within

30 days of being served with the Complaint and Summons.                             See 28 U.S.C.

§ 1446(b).
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       4.          GE Healthcare removes this case on grounds of federal question jurisdiction

pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction under 28 U.S.C. § 1367.

       5.          Count I of Plaintiff’s Complaint alleges a violation of a federal statute, the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, which provides federal

question jurisdiction in this Court pursuant to 28 U.S.C. § 1331. See Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740, 753 (2012) (“Nothing in the text, structure, purpose, or legislative history of

the TCPA calls for displacement of the federal-question jurisdiction U.S. district courts

ordinarily have under 28 U.S.C. § 1331.”); Brill v. Countrywide Home Loans, Inc., 427 F.3d 446,

450-51 (7th Cir. 2005) (holding that defendant had removal rights under §§ 1331 and 1441

because a TCPA claim “arises under federal law”).

       6.          Counts II and III of Plaintiff’s Complaint assert claims for common law

conversion and violation of the Missouri Consumer Fraud and Deceptive Business Practices Act,

respectively, both of which are based on the same facts alleged for the TCPA claim in Count I.

Because these state law claims are so related to the TCPA claim that they form part of the same

case or controversy under Article III of the United States Constitution, this Court has

supplemental jurisdiction over these claims pursuant to 28 U.S.C. § 1367(a).

       7.          GE Healthcare, in accordance with 28 U.S.C. § 1446(d), will promptly serve a

copy of this Notice on counsel for Plaintiff and will file a copy of the Notice with the Clerk of

the Circuit Court of St. Louis County.

       8.          There are no other cases related to the instant action, and GE Healthcare has

not attempted to remove this case previously.

       WHEREFORE, Defendant, GE Healthcare, Inc., respectfully removes the above-

captioned action from the Circuit Court of St. Louis County, Missouri.




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Dated: April 10, 2015               Respectfully submitted,

                                    GE HEALTHCARE, INC.,
                                    Defendant


                                    By:    s/ Christine Czuprynski
                                              One of Its Attorneys


Christine Czuprynski
REED SMITH LLP
10 South Wacker Drive
40th Floor
Chicago, IL 60606
Ph (312) 207-1000
Fax (312) 207-6400
cczuprynski@reedsmith.com




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